                Case 3:04-cr-05647-RBL             Document 254       Filed 07/06/06       Page 1 of 1



 1                                                                     HONORABLE RONALD B. LEIGHTON
 2
 3
 4
 5
 6
 7
 8                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 9                                               AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                            Case No. CR04-5647 RBL
                                 Plaintiff,
12                       v.                                   ORDER
13     EVERETT LEDBETTER,
14                                Defendant.
15
16
17             THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion to Modify

18   Conditions of Release [Dkt. #250].

19             Having considered the entirety of the records and file herein, the Court rules as follows:

20             ORDERED that the Motion to Modify Conditions of Release [Dkt. #250] is DENIED. The

21   conditions of the defendant’s release shall remain as previously set.

22             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing

23   pro se.

24             Dated this 6th day of July, 2006.


                                               A
25
26
                                               RONALD B. LEIGHTON
27                                             UNITED STATES DISTRICT JUDGE

28


     ORDER
     Page - 1
